                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )      Case No. 1:11-cr-35
v.                                                   )
                                                     )
MAYRA GRISELDA LOPEZ-OROZCO                          )      COLLIER / LEE

                                           ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count Four of the four-count

Indictment; (2) accept Defendant’s plea of guilty to Count Four of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count Four of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter (Court File No. 70). Neither party filed a timely objection

to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation (Court File No. 70) pursuant to 28 U.S.C. § 636(b)(1)

and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count Four of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count Four of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count Four of

               the Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;




Case 1:11-cr-00035-CLC-SKL          Document 72 Filed 08/01/11            Page 1 of 2      PageID
                                          #: 138
            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, November 3, 2011 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:



                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




                                             2


Case 1:11-cr-00035-CLC-SKL      Document 72 Filed 08/01/11        Page 2 of 2    PageID
                                      #: 139
